    Pro Se 15 (Rev. 12/16) Complaint for Violation of Civil Rights (Non—Prisoner)



                                            UNITED STATES DISTRICT COURT                                                       2021 DEC 20 Pty 1: 56
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                                                                     lS~ District of

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                                  IX(S O                                                   Case No.            03 1- 2 1 093 7
                                                                                                           (to be filled in by the Clerk's Office)

                                  Plaintiff(s)
    (Write the full mmne of each plaintiff who is filing this complaint.            j
    If the names of all the plaintiffs cannot fit in the space above,                      July Trial: (check one) I__l i es       ❑ No
    please write "see attached" in the space and attach an additional
    page with the fidl list of names.)
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                                 Defendant(s)
    (Write the fidl name of each defendant who is being sued. If the
    nanies of all the defendants cannot fit in the space above, please              )
    write "see attached" in the space and attach an additional page
    with the fill list of names. Do not inchide addresses here)



                                     COMPLAINT FOR VIOLATION OF CIVIL RIGHTS
                                               (Non-Prisoner Complaint)


                                                                             NOTICE

       Federal Rules of Civil Procedure 5.2 addresses the privacy and security concerns resulting from public access to
       electronic court files. Under this rule, papers filed with the court should not contain: an individual's full social
       security number or full birth date; the full name of a person known to be a minor; or a complete financial account
       number. A filing may include only: the last four digits of a social security number; the year of an individual's
       birth; a minor's initials; and the last four- digits of a financial account number.

       Except as noted in this form, plaintiff need not send exhibits, affidavits, grievance or witness statements, or any
       other materials to the Clerk's Office with this complaint.

       In order for your complaint to be filed, it must be accompanied by the filing fee or an application to proceed in
       forma pauperis.




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I.        The Parties to This Complaint

          A.         The Plaintiff(s)

                     Provide the information below for each plaintiff named in the complaint. Attach additional pages if
                     needed.                                            `t F              q_s (/          cS \~
                         Name                                           ~y
                         Address                                   .
                                                                       'NOUAWIL9 ,                              TN
                                                                                           City                  State            Zip Code
                                                                                  `~
                           County                                      ~~ `16 910 Vt C 0 44fq
                           Telephone Number                                      b 2                       C
                           E-Mail Address                                ~~'                                   Yj ~-             nl

          B.         The Defendant(s)

                     Provide the information below for each defendant named in the complaint, whether the defendant is an
                     individual, a government agency, an organization, or a corporation. For an individual defendant,
                     include the person's job or title (if known) and check whether you are bringing this complaint against
                     them in their individual capacity or official capacity, or both. Attach additional pages if needed.

                     Defendant No. 1
                                                                          qG
                           Name                                        1 YI:G

                           Job or Title (if known)
                           Address                                          t)b rO N~1 r Wn M V0
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                                                                                           City                  State            Zip Code
                           County                                       MONC11C/o VA                       C    wlq
                           Telephone Number                                            —           rL_ —        17~0
                           E-Mail Address (fknown)

                                                                                Individual capacity        D Official capacity

                     Defendant No. 2
                         Name
                         Job or Title (ifknown)
                         Address

                                                                                           ('ihr                 Rtatn            7.in (.'nde

                           County
                           Telephone Number
                           E-Mail Address (if known)

                                                                                Individual capacity        ~fficial capacity



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                     Defendant No. 3
                           Name                                        t7q,-~- r ~_V-W V,
                           Job or Title (ifknown)
                           Address                                              0
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                           County                                                               0
                           Telephone Number                                         —          ~—
                           E-Mail Address (if known)

                                                                       individual capacity            PRIO
                                                                                                         E fficial capacity


                     Defendant No. 4
                           Name                                         C;tV1i@,►mac ~ 9--es &'Oh s co_ v +                              ~0
                                                                                                                                          ,      r
                           Job or Title (if known)
                           Address
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                                                                                        City               State              Zip Code
                           County
                           Telephone Number
                           E-Mail Address (ifknown)

                                                                                Individual capacity   13 Official capacity

II.       Basis for Jurisdiction

          Under 42 U.S.C. § 1983, you may sue state or local officials for the "deprivation of any rights, privileges, or
          immunities secured by the Constitution and [federal laws]." Under Bivens v. Six Unknown Named Agents of
          Federal Bureau of Narcotics, 403 U.S. 388 (1971), you may sue federal officials for the violation of certain
          constitutional rights.

          A.         Are you bringing suit against (check all that apply):

                           Federal officials (a Bivens claim)

                    ET'State or local officials (a § 1983 claim)
          B.         Section 1983 allows claims alleging the "deprivation of any rights, privileges, or immunities secured by
                     the Constitution and [federal laws]." 42 U.S.C. § 1983. If you are suing under section 1983, what
                     federal constitutional or statutory right(s) do you claim is/are being violated by state or local officials?
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                                                                            Ma"d-We-j Gq                           LA , C (,a


          C.         Plaintiffs suing under Bivens may only recover for the violation of certain constitutional rights. If you
                     are suing under Bivens, what constitutional right(s) do you claim is/are being violated by federal
                     officials?


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          D.         Section 1983 allows defendants to be found liable only when they have acted "under color of any
                     statute, ordinance, regulation, custom, or usage, of any State or Territory or the District of Columbia."
                     42 U.S.C. § 1983. If you are suing under section 1983, explain how each defendant acted under color
                     of state or local law. If you are suing under Bivens, explain ho weach defendant acted under color of,
                     federal law. Attach additional pages if neede . f             '     — ~ f- L7A (J~ UxJ v~'tiv1~ yr
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III.     Statement of Claim

         State as briefly as possible the facts of your case. Describe how each defendant was personally involved in the
         alleged wrongful action, along with the dates and locations of all relevant events. You may wish to include
         further details such as the names of other persons involved in the events giving rise to your claims. Do not cite
         any cases or statutes. If more than one claim is asserted, number each claim and write a short and plain
         statement of each claim in a separate paragraph. Attach additional pages if needed.

         A.          Where did the events giving rise to your claim(s) occur?                   ~~
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        B.           What date and approximate time did the events giving rise to your claim(s) occur?




        C.           What are the facts underlying your claim(s)? (For example: What higppened to vou? Who did what?
                     Was anyone else involved? Who else saw what happened?) ~)h              LOII  ~bf-                      L3+
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IV.      Injuries

         If you sustained injuries related to the events alleged above, escribe your injuries and stat what medical
         treatment, if any, you required and did or did not receive.          l/s
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V.       Relief

         State briefly what you want the court to do for you. Make no legal arguments. Do not cite any cases or statutes.
         If requesting money damages, include the amounts of any actual damages and/or punitive damages claimed for
         the acts alleged. Explain thebasis for these claims.      ~t r ~                    _ j; n (4m
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VI.      Certification and Closing

         Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
         and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
         unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
         nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
         evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
         opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
         requirements of Rule 11.



         A.          For Parties Without an Attorney

                     I agree to provide the Clerk's Office with any changes to my address where case—related papers may be
                     served. I understand that my failure to keep a current address on file with the Clerk's Office may result
                     in the dismissal of my case.
                                                                    ~
                     Date of signing:          1q, l~q       a I-Q;6 2 4


                     Signature of Plaintiff
                     Printed Name of Plaintiff                                         GA c'-

         B.          For Attorneys

                     Date of signing:


                     Signature of Attorney
                     Printed Name of Attorney
                     Bar Number
                     Name of Law Firm
                     Address

                                                                                City            State      Zip Code

                     Telephone Number
                     E-mail Address




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